Case 3:20-cv-00822-LEK-ML Document 55 Filed 03/02/21 Page 1 of

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U.S. DISTRICT COURT - N.D. OF N.Y.

Aviva Friedman F I [ - D

68 Pine St Be ee
Binghamton, NY 13901

MAR 2°21 15:41

   

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Hon. Lawrence E. Kahn

James T. Foley U.S. Courthouse
445 Broadway, Room 424
Albany, NY 12207-2926

AT O'CLOCK

John M. Domurad. Clerk - Binghamton

 

 

 

Re: YOUNG AMERICA’S FOUNDATION, et.al. v. Harvey Stenger, et.al.
Case 3:20-cv-822

March 2, 2021

Dear Judge Kahn:

My name is Aviva Friedman, | am a 2014 graduate of Binghamton University. | have
been served apparently as a representative of a defendant, PLOT, in the above
captioned action. | understand that today, March 2, 2021, is the deadline for PLOT to
respond to this lawsuit. It appears as if | am being treated as if | am a representative of
PLOT; | am not. Accordingly, | do not have any lawful status to file an Answer to the
Complaint on behalf of PLOT.

| sent a letter yesterday (ECF No. 54) seeking an unopposed extension of 10 days to
respond with counsel and have not yet received an acknowledgment or ruling from the
court as of today, and so in an abundance of caution | am filing this additional letter.

| understand there is a process for objecting to this type of situation. | respectfully
request that the Court treat this letter as a Motion to Dismiss pursuant to F.R.C.P
12(b)(5). | am diligently attempting to secure counsel and am at your honor's disposal
should the Court have any questions or concerns.

Moreover, nothing in this letter should be deemed in any way to waive any of my rights
in respect to this proceeding, nor should anything be imputed to PLOT inasmuch as the
very basis of this submission is that | am not an authorized representative or agent of
PLOT.

Thank you in advance for your consideration and understanding.

Are Sucolnrarr

Aviva Friedman
